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                              UNITED STATES BANKRUPTCY COURT
                                 DISTRICT OF MASSACHUSETTS
                                      EASTERN DIVISION

                                                 )
 In re:                                          )                     Chapter 7
                                                 )                     Case No. 18-10098-MSH
 DONALD C. KUPPERSTEIN                           )
                                                 )
                  Debtor                         )
                                                 )
                                                 )
 IRENE B. SCHALL,                                )
 Successor Personal Representative               )
 of the Estate of Fred W. Kuhn,                  )                     Adversary Proceeding
                                                 )                     No. 18-01100-MSH
                  Plaintiff                      )
                                                 )
 v.                                              )
                                                 )
 DONALD C. KUPPERSTEIN                           )
                                                 )
                  Defendant                      )
                                                 )

                 ORDER ON JOINT MOTION FOR SUMMARY JUDGMENT

          The above plaintiff, Irene B. Schall, as the personal representative of Fred W. Kuhn’s

probate estate, and the Executive Office of Health and Human Services of the Commonwealth of

Massachusetts (“EOHHS”), each commenced separate adversary proceedings, filing multi-count

complaints with common factual allegations against the defendant, Donald C. Kupperstein, who

is the debtor in the main case. Among other counts, each plaintiff’s complaint contains a count

seeking to have Mr. Kupperstein’s bankruptcy discharge denied under Bankruptcy Code

§ 727(a)(4)(A). The two adversary proceedings were consolidated for a trial on those counts.

Ms. Schall and EOHHS have filed a joint motion for summary judgment as to each proceeding.

          In accordance with the memorandum of decision issued today, Ms. Schall is granted

summary judgment on count IV of her complaint. Accordingly, Mr. Kupperstein is not entitled



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to a discharge, and thus, no discharge will be granted in the main case. See 11 U.S.C.

§ 727(a)(4)(A).


 Dated: January 21, 2021                                           By the Court,




                                                                   Melvin S. Hoffman
                                                                   U.S. Bankruptcy Judge




                                               2
